Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37647 Page 1 of 7




 1   Nina S. Tallon, DC Bar No. 479481, appearing pro hac vice
     WILMER CUTLER PICKERING HALE AND DORR LLP
 2   1875 Pennsylvania Avenue NW
 3   Washington, DC 20006
     Phone: 202-663-6000 / Fax: 202-663-6363
 4   Joseph J. Mueller, MA Bar No. 647567, appearing pro hac vice,
 5   WILMER CUTLER PICKERING HALE AND DORR LLP
     60 State Street
 6   Boston, MA 02109
     Phone: 617-526-6000 / Fax: 617-526-5000
 7
     Juanita R. Brooks, SBN 75934, brooks@fr.com
 8   FISH & RICHARDSON P.C.
 9   12390 El Camino Real
     San Diego, CA 92130
10   Phone: (858) 678-5070/ Fax: (858) 678-5099
11   Ruffin B. Cordell, DC Bar No. 445801, pro hac vice, cordell@fr.com
     Lauren A. Degnan, DC Bar No. 452421, pro hac vice, degnan@fr.com
12
     FISH & RICHARDSON P.C.
13   1000 Maine Avenue, Suite 1000
14   Washington, D.C. 20024
     Phone: 202-783-5070 / Fax: 202-783-2331
15
16   [Additional counsel identified on signature page]

17   Attorneys for Defendant/Counterclaim Plaintiff Apple Inc.
18                       UNITED STATES DISTRICT COURT
19                     SOUTHERN DISTRICT OF CALIFORNIA
20 QUALCOMM INCORPORATED,                     Case No. 3:17-cv-1375-DMS-MDD
21                      Plaintiff,            APPLE INC.’S RESPONSE TO
                                              QUALCOMM INCORPORATED’S
22         v.                                 BENCH MEMORANDUM
23                                            REQUESTING CURATIVE
     APPLE INC.,                              INSTRUCTION (DKT. 649)
24
                        Defendant.            TRIAL DATE: MARCH 4, 2019
25                                            JUDGE: HON. DANA SABRAW
26 AND RELATED COUNTERCLAIMS.
27
28                                                 Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37648 Page 2 of 7




 1   I.    INTRODUCTION
 2         The opening statement made by counsel for Apple Inc. (“Apple”) accurately
 3   summarized the evidence that Apple expects will be presented at trial and contained
 4   no misstatements of law. The request by Qualcomm Incorporated (“Qualcomm”) for
 5   a purportedly “curative” instruction should be denied.
 6   II.   ARGUMENT
 7         A.     Apple’s Opening Statement Accurately Described The Accused
 8                Products And The Plain And Ordinary Meaning Of The
                  “Compiler” Limitations.
 9
           Qualcomm argues that Apple “expressly invited” the jury to apply a legally
10
     incorrect construction of the “compiler” limitations of claim 19 of U.S. Patent No.
11
     8,633,936 (“the ’936 Patent”). (Dkt. 649 [Memo.] at 1.) Apple did no such thing.
12
     Neither party has requested that the Court construe the “compiler” limitations, and
13
     there is no dispute that these limitations should be given their plain and ordinary
14
     meaning. The parties simply disagree regarding the application of that meaning to
15
     the Apple devices Qualcomm accuses of infringement.
16
           During Apple’s opening statement, Apple’s counsel stated that the jury should
17
     consider the claim language as written, and described how none of Apple’s three
18
     compilers meets that claim language. Apple’s long-disclosed position in this case, as
19
     stated in Apple’s opening, is that the claim language reciting “a controller configured
20
     to receive a graphics instruction . . . wherein the graphics instruction is a first
21
     executable instruction generated by a compiler that compiles graphics application
22
     instructions” requires just what it says—configuration to receive graphics
23
     instructions from a compiler that both compiles graphics applications instructions and
24
     generates executable instructions. (JX-1 [’936 Patent] cl. 19.1) Whether there is one,
25
     or more than one, claimed compiler in the accused products is not at issue. The issue
26
27   1
           Unless otherwise noted, all bold/italics emphases are added.
28
                                            1       Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37649 Page 3 of 7




 1   is whether any of Apple’s compilers meets both requirements of the claimed
 2   compiler. Not one of them does. Apple’s opening statement focuses on this factual
 3   dispute. (Trial Tr. at 44:19-21 (“And the burden is upon Qualcomm to show you that
 4   our accused technology does every single thing the claim requires.”); id. at 45:19-21
 5   (“I’m just showing you to show you this claim is about a single compiler and
 6   everything that single compiler is required to do under the claim. We don’t do that.”);
 7   id. at 47:5-8 (“If you look at the claim, that what goes in here is the developer language
 8   [i.e., graphics application instructions] . . . but what has to come out here has got to
 9   be an executable instruction.”).)
10         Thus, the cases Qualcomm cites for the proposition that the plain meaning of
11   “a” includes “one or more” are beside the point. (See Memo. at 2-3 & n.1.) Instead,
12   multiple cases establish that where a claim element has two requirements, that element
13   is not met by two different components, each meeting only one of the requirements.
14   In In re Varma, for example, the Federal Circuit considered a claim to a system
15   “adapted to[] receive a statistical analysis request corresponding to two or more
16   selected investments.” 816 F.3d 1352, 1356 (Fed. Cir. 2016). The court noted that
17   “the question is not whether there can be more than one request in a claim-covered
18   system: there can.” Id. at 1362-63. Instead, the court held “no matter how many
19   requests there may be, no matter the variety of the requests the system may receive,
20   the system must be adapted to receive a request that itself corresponds to at least two
21   investments.” Id. at 1363. The Federal Circuit offered an apt analogy to explain its
22   reasoning: “For a dog owner to have ‘a dog that rolls over and fetches sticks,’ it does
23   not suffice [to] have two dogs, each able to perform just one of the tasks.” Id.
24   Varma’s holding is directly relevant here, where Qualcomm’s theory alleges Apple’s
25   three compilers only meet all claim requirements in combination—and none do so
26   individually.
27
28
                                             2        Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37650 Page 4 of 7




 1         The Federal Circuit reached a similar result in Enfish, LLC v. Microsoft Corp.,
 2   where the claim limitation at issue was “a logical table” including “logical rows” and
 3   “logical columns.” 822 F.3d 1327, 1340 (Fed. Cir. 2016). The court determined that
 4   “the invention is directed to the arrangement of a single, logical table” and, for that
 5   reason, held that “the ‘at least one of said logical rows’ and the ‘corresponding one of
 6   said logical columns’ must both be in the same logical table.” Id. at 1342.
 7         District courts have reached similar conclusions. In Frac Shack Inc. v. Fuel
 8   Automation Station LLC, the claim limitation at issue was “a controller responsive to
 9   signals supplied from each sensor . . . , the controller being configured to provide
10   control signals to open and close . . . valves.” No. 16-cv-02275, 2018 WL 5792613,
11   at *3 (D. Colo. Nov. 5, 2018). The court applied Varma and held that, while the
12   claimed system may have multiple controllers, “[e]ach of these controllers must be
13   able to both respond to multiple signals from sensors, and provide multiple signals to
14   valves.” Id. at *5. And in Plano Encryption Techs., LLC v. Alkami, Inc., the court
15   applied Varma and Enfish to hold that a claim reciting “a storage medium having
16   stored therein a plurality of programming instructions” was limited to a device in
17   which “one particular medium must store all of these instructions.” No. 2:16-cv-
18   1032, 2017 WL 3654122, at *10 (E.D. Tex. Aug. 23, 2017).
19         Apple’s opening statement tracks the language of claim 19 and the relevant law
20   holding that where a claim element must meet two requirements, the claim element is
21   not met by two different components, each meeting only one of the two requirements.
22   There was no legal error in the statements of Apple’s counsel.
23         B.     The Decision In The Parallel ITC Investigation Confirms Apple’s
                  Position.
24
           Apple’s description in its opening of its three compilers and the reasons why
25
     its accused products do not infringe the ’936 patent were no surprise to Qualcomm,
26
     and Qualcomm’s decision to wait until after openings to assert that Apple’s positions
27
     contravene established precedent appears tactical.       Apple took this same non-
28
                                            3        Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37651 Page 5 of 7




 1   infringement position in the parallel ITC investigation on the ’936 patent.2
 2   Qualcomm has been fully aware of Apple’s position since at least that hearing nine
 3   months ago. Qualcomm advanced the same infringement argument in the ITC as it
 4   does here—that the “compiler” requirement could be satisfied by a “multiple-stage”
 5   compiler or even multiple compilers acting one-after-another—and this argument was
 6   rejected by the ITC. Indeed, the ITC Administrative Law Judge adopted Apple’s
 7   position, ruling:
 8         The evidence shows that the ’936 Accused Products do not contain a
           “compiler” that both (1) compiles graphics application instructions and
 9
           (2) generates a first executable instruction. The ’936 Accused Products
10         therefore do not satisfy this claim limitation. For this reason alone, the
           ’936 Accused [Products] do not infringe claim 19 of the ’936 Patent.
11
12   Inv. No. 337-TA-1065, Doc. ID No. 660155 [Public Version of Initial Determination]
13   at 42. The full United States International Trade Commission has declined to review
14   the Initial Determination on the ’936 patent; accordingly, the ALJ’s conclusion that
15   Apple does not infringe the ’936 patent is final.3 See 83 Fed. Reg. 64875 [Notice of
16   Commission] (Dec. 18, 2018) at 64876, 2018 WL 6605145 (“The Commission has
17   determined not to review any of the ALJ’s finding with respect to . . . the ’936
18   patent.”). To the extent Qualcomm believed that Apple’s non-infringement position
19   was legally improper, Qualcomm could have brought that argument to the Court’s
20   attention through summary judgment or a variety of other pre-trial mechanisms, rather
21
22
23   2
             Moreover, Apple has consistently taken this same position throughout this
24   litigation, including in the Rebuttal Expert Report of Henry Fuchs, Ph.D. Regarding
25   Non-Infringement of U.S. Patent No. 8,633,936 (¶¶ 234-264), and Apple Inc.’s Trial
     Brief (Dkt. 636 at 11-12).
26   3
             Indeed, Qualcomm raised these same arguments regarding the “compiler”
27   limitations in its Petition For Review of the Initial Determination, and the full ITC
     again rejected them. See Inv. No. 337-TA-1065, Doc. ID No. 660203 [Public Version
28   of Qualcomm’s Petition For Review of the Initial Determination] at 40-41, 42-48.
                                             4      Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37652 Page 6 of 7




 1   than feigning surprise at Apple’s opening statement and seeking an improper and
 2   inflammatory “curative” statement.
 3
 4   Dated: March 7, 2019             Respectfully submitted,
 5
                                     By: /s/ Nina S. Tallon
 6                                   Nina S. Tallon, DC Bar No. 479481
                                     pro hac vice, nina.tallon@wilmerhale.com
 7                                   WILMER CUTLER PICKERING HALE AND DORR LLP
 8                                   1875 Pennsylvania Avenue NW
                                     Washington, DC 20006
 9                                   Phone: 202-663-6000 / Fax: 202-663-6363
10                                   Mark D. Selwyn, SBN 244180,
                                     mark.selwyn@wilmerhale.com
11                                   WILMER CUTLER PICKERING HALE AND DORR LLP
12                                   950 Page Mill Road
                                     Palo Alto, CA 94304
13                                   Phone: 650-858-6000 / Fax: 650-858-6100
14                                   William F. Lee, MA Bar No. 291960
15                                   pro hac vice, william.lee@wilmerhale.com
                                     Joseph J. Mueller, MA Bar No. 647567
16                                   pro hac vice, joseph.mueller@wilmerhale.com
                                     Timothy Syrett, MA Bar No. 663676
17                                   pro hac vice, timothy.syrett@wilmerhale.com
                                     Richard W. O’Neill, pro hac vice,
18                                   richard.o’neill@wilmerhale.com
19                                   Bradley M. Baglien, pro hac vice,
                                     bradley.baglien@wilmerhale.com
20                                   WILMER CUTLER PICKERING HALE AND DORR LLP
                                     60 State Street
21                                   Boston, MA 02109
22                                   Phone: 617-526-6000 / Fax: 617-526-5000

23                                   Juanita R. Brooks, SBN 75934, brooks@fr.com
                                     Seth M. Sproul, SBN 217711, sproul@fr.com
24                                   Frank Albert, SBN 247741, albert@fr.com
                                     Joanna M. Fuller, SBN 266406, jfuller@fr.com
25                                   Katherine D. Prescott, SBN 215496
26                                   prescott@fr.com
                                     Betty H. Chen, SBN 24056720
27                                   betty.chen@fr.com
                                     FISH & RICHARDSON P.C.
28                                   500 Arguello Street, Suite 500
                                          5      Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 659 Filed 03/07/19 PageID.37653 Page 7 of 7




 1                                Redwood City, CA 94063
                                  Phone: 650-839-5070 / Fax: 650-839-5071
 2
 3                                Ruffin B. Cordell, DC Bar No. 445801
                                  pro hac vice, cordell@fr.com
 4                                Lauren A. Degnan, DC Bar No. 452421
                                  pro hac vice, degnan@fr.com
 5                                FISH & RICHARDSON P.C.
                                  1000 Maine Avenue, S.W. Suite 1000
 6                                Washington, D.C. 20024
 7                                Phone: 202-783-5070 / Fax: 202-783-2331

 8                                William A. Isaacson, DC Bar No. 414788
                                  pro hac vice, wisaacson@bsfllp.com
 9                                Karen L. Dunn, DC Bar No. 1002520
10                                pro hac vice, kdunn@bsfllp.com
                                  BOIES, SCHILLER & FLEXNER LLP
11                                1401 New York Avenue, N.W.
                                  Washington, DC 20005
12                                Phone: 202-237-2727 / Fax: 202-237-6131
13                                Benjamin C. Elacqua, TX SBN 24055443
14                                pro hac vice, elacqua@fr.com
                                  John P. Brinkmann, TX SBN 24068091
15                                pro hac vice, brinkmann@fr.com
                                  FISH & RICHARDSON P.C.
16                                One Houston Center, 28th Floor
17                                1221 McKinney
                                  Houston, TX 77010
18                                Phone: 713-654-5300 / Fax: 713-652-0109
19                                Brian P. Boyd, GA SBN 553190
                                  pro hac vice, bboyd@fr.com
20                                FISH & RICHARDSON P.C.
21                                1180 Peachtree St., NE, 21ST Floor
                                  Atlanta, GA 30309
22                                Phone: 404-892-5005 / Fax: 404-892-5002
23                                Attorneys for Apple Inc.
24
25
26
27
28
                                      6       Case No. 3:17-CV-01375-DMS-MDD
